Case 1:11-cv-23671-PAS Document 17 Entered on FLSD Docket 01/24/2012 Page 1 of 14
Case 1:11-cv-23671-PAS Document 17 Entered on FLSD Docket 01/24/2012 Page 2 of 14
Case 1:11-cv-23671-PAS Document 17 Entered on FLSD Docket 01/24/2012 Page 3 of 14
Case 1:11-cv-23671-PAS Document 17 Entered on FLSD Docket 01/24/2012 Page 4 of 14
Case 1:11-cv-23671-PAS Document 17 Entered on FLSD Docket 01/24/2012 Page 5 of 14
Case 1:11-cv-23671-PAS Document 17 Entered on FLSD Docket 01/24/2012 Page 6 of 14
Case 1:11-cv-23671-PAS Document 17 Entered on FLSD Docket 01/24/2012 Page 7 of 14
Case 1:11-cv-23671-PAS Document 17 Entered on FLSD Docket 01/24/2012 Page 8 of 14
Case 1:11-cv-23671-PAS Document 17 Entered on FLSD Docket 01/24/2012 Page 9 of 14
Case 1:11-cv-23671-PAS Document 17 Entered on FLSD Docket 01/24/2012 Page 10 of 14
Case 1:11-cv-23671-PAS Document 17 Entered on FLSD Docket 01/24/2012 Page 11 of 14
Case 1:11-cv-23671-PAS Document 17 Entered on FLSD Docket 01/24/2012 Page 12 of 14
Case 1:11-cv-23671-PAS Document 17 Entered on FLSD Docket 01/24/2012 Page 13 of 14
Case 1:11-cv-23671-PAS Document 17 Entered on FLSD Docket 01/24/2012 Page 14 of 14
